 1                                                                   The Honorable Ronald B. Leighton
                                                                      United States District Court Judge
 2

 3

 4

 5

 6

 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT TACOMA
 9   JUDITH COX and CHARLES COX individually                 NO. 14-05923RBL
     and as Personal Representatives of the Estates of
10   C.J.P. and B.T.P.,
                                                             DECLARATION OF EVAN BARIAULT
11                                                           IN SUPPORT OF PLAINTIFFS’
                     Plaintiffs,
                                                             RESPONSE TO DEFENDANTS’
12                                                           MOTION FOR SUMMARY JUDGMENT
              v.
13
     STATE OF WASHINGTON, DEPARTMENT
14   OF SOCIAL AND HEALTH SERVICES,
     FOREST JACOBSON, ROCKY
15   STEPHENSON, JANE WILSON, and BILLIE
     REED-LYYSKI,
16
                     Defendants.
17
              I, Evan Bariault, hereby declare as follows:
18
         1. I am an attorney of record for plaintiffs. I make this declaration based on personal knowledge
19
     and am competent to testify to the matters contained herein.
20
         2. On July 3, 2014, DSHS filed a motion for summary judgment to dismiss plaintiffs’ state law
21
     claims in Pierce County Superior Court Case No. 12-2-11389-6. The motion was based on precisely
22

23   DECLARATION OF EVAN BARIAULT IN SUPPORT                                Frey buck, p.s.
     OF PLAINTIFFS’ RESPONSE TO DEFENDANTS’                              1200 FIFTH AVENUE, SUITE 1900
24   MOTION FOR SUMMARY JUDGMENT - 1                                           SEATTLE, WA 98101
     {00151234;1}                                                       P: (206) 486-8000 F: (206) 902-9660
 1   the same grounds as DSHS’ current motion. Indeed, a review of the two motions side-by-side

 2   demonstrates DSHS copied and pasted the majority of its previous motion into the current motion.

 3       3. Oral argument on DSHS’ summary judgment motion was held on August 15, 2014, after the

 4   parties’ submitted briefing and exhibits that totaled over 950 pages. The state court denied DSHS’

 5   motion.

 6       4. On September 17, 2014, plaintiffs moved to amend their complaint to add federal civil rights

 7   claims against individual social workers. The state court granted plaintiffs’ motion and the case was

 8   later removed to this Court. See Dkt. 1.

 9       5. Attached hereto are true and correct copies of the following exhibits:

10            Exhibit 1 –   A newspaper article published by the Seattle Times on August 17, 2015.

11            Exhibit 2 –   DSHS’ motion for summary judgment in Pierce County Superior Court
                            without accompanying declarations or exhibits.
12
              Exhibit 3 –   A printout of the superior court docket.
13
              Exhibit 4 –   Plaintiffs’ Response to DSHS’ Summary Judgment motion in Pierce
14                          County Superior Court without accompanying declarations or exhibits.

15            Exhibit 5 –   Pierce County Superior Court Order Denying Motion for Summary
                            Judgment.
16
              Exhibit 6 –   Dependency Petition.
17
              Exhibit 7 –   Excerpts from the Deposition of Dr. James Manley.
18
              I DECLARE UNDER PENALTY OF PERJURY OF THE LAWS OF THE UNITED
19            STATES THAT THE FOREGOING IS TRUE AND CORRECT.

20
                                                           /s/ Evan Bariault
21                                                         Evan D. Bariault, WSBA #42867

22

23   DECLARATION OF EVAN BARIAULT IN SUPPORT                                Frey buck, p.s.
     OF PLAINTIFFS’ RESPONSE TO DEFENDANTS’                              1200 FIFTH AVENUE, SUITE 1900
24   MOTION FOR SUMMARY JUDGMENT - 2                                           SEATTLE, WA 98101
     {00151234;1}                                                       P: (206) 486-8000 F: (206) 902-9660
 1                                         Certificate of Service

 2          I certify that on the date noted below I electronically filed this document entitled with the
     Clerk of the Court using the CM/ECF system which will send notification of such filing to the
 3   following persons:

 4   Joseph M. Diaz, WSBA #16170                        James S. Rogers, WSBA #5335
     josephd@atg.wa.gov                                 jsr@jsrogerslaw.com
 5   Peter Helmberger, WSBA #23041                      Cheryl L. Snow, WSBA #26757
     peterh@atg.wa.gov                                  csnow@jsrogerslaw.com
 6   Jodie@atg.wa.gov                                   Elizabeth J. Donaldson, WSBA #45291
     Jennym@atg.wa.gov                                  liz@jsrogerslaw.com
 7   TORTacEF@atg.wa.gov                                Dawn@jsrogerslaw.com
     Office of the Attorney General                     Law Offices of James S. Rogers
 8   1250 Pacific Street, Suite 105                     1500 Fourth Avenue, Suite 500
     Post Office Box 2317                               Seattle, WA 98101
 9   Tacoma, WA 98401                                   (206) 621-8525
     (253) 593-5243                                     FAX: (206) 223-8224
10          Attorneys for Defendant                            Attorneys for Plaintiffs

11
              DATED this 17th day of August, 2015, at Seattle, Washington.
12
                                                           /s/ Evan Bariault
13

14

15

16

17

18

19

20

21

22

23   DECLARATION OF EVAN BARIAULT IN SUPPORT                                Frey buck, p.s.
     OF PLAINTIFFS’ RESPONSE TO DEFENDANTS’                              1200 FIFTH AVENUE, SUITE 1900
24   MOTION FOR SUMMARY JUDGMENT - 3                                           SEATTLE, WA 98101
     {00151234;1}                                                       P: (206) 486-8000 F: (206) 902-9660
